        Case 1:17-cv-02965-AT Document 233 Filed 11/26/19 Page 1 of 3




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

POWERBAHN, LLC,                      )
                                     )
                 Plaintiff,          )
                                     )
v.                                   ) Case No. 1:17-CV-02965-AT
                                     )
FOUNDATION FITNESS, LLC,             )
WAHOO FITNESS, LLC, AND              )
PATRICK WARNER,                      )
                                     )
                  Defendants.

     DEFENDANTS FOUNDATION FITNESS, LLC’S AND PATRICK
         WARNER’S MOTION FOR SUMMARY JUDGMENT
      NOW COMES Defendants Foundation Fitness, LLC (“Foundation”) and

Patrick Warner (“Mr. Warner”), by and through its attorney, and hereby files its

Motion for Summary Judgment pursuant to Rule 56 of the Federal Rules of Civil

Procedure and Local Rule 56.1 on the grounds there are no genuine issues of any

material fact, such that Foundation and Mr. Warner are entitled to judgment as a

matter of law. In support of this Motion, Foundation and Mr. Warner rely on the

attached Statement of Uncontroverted Facts and the Exhibits attached thereto, as

well as Foundation and Mr. Warner’s Memorandum of Law in Support of Their

Motion for Summary Judgment.
  Case 1:17-cv-02965-AT Document 233 Filed 11/26/19 Page 2 of 3




Respectfully submitted this 26th day of November, 2019.

                               /s/ Keith J. Grady
                               Keith J. Grady
                               Admitted pro hac vice
                               kgrady@polsinelli.com
                               Graham L. Day
                               Admitted pro hac vice
                               gday@polsinelli.com
                               Polsinelli PC
                               100 S. Fourth St., Suite 1000
                               St. Louis, MO 63102
                               Telephone: 314.889.8000
                               Facsimile: 314.231.1776

                               Joseph C. Sharp
                               Georgia Bar No. 637965
                               jsharp@polsinelli.com
                               Polsinelli PC
                               1201 West Peachtree Street, Suite 1100
                               Atlanta, GA 30309
                               Telephone: 404.253.6000
                               Facsimile: 404.253.6060

                               Attorneys for Defendants Foundation
                               Fitness, LLC and Patrick Warner




                                 2
        Case 1:17-cv-02965-AT Document 233 Filed 11/26/19 Page 3 of 3




 CERTIFICATE OF FONT AND POINT SELECTION AND OF SERVICE

      The undersigned hereby certifies that the foregoing has been prepared with

one of the font and point selections approved by the Court and that a copy of the

foregoing was electronically filed with the Clerk of the Court for the United States

District Court for the Northern District of Georgia using the CM/ECF system,

which will send notification of such filing to registered counsel of record as

identified on the Court’s Docket as of November 26, 2019.



                                             /s/ Keith J. Grady




                                         3
